EXHIBIT G
                    PRESENTATION OF LOSS OR DAMAGE CLAIM FOR LIMITED BRANDS


Claim Number:          004138-147055-rc-01
Date of Loss:           2/22/2023
Reason for Claim:      Cargo Accident resulting in damages

To:        Landstar                                      BBW
           name of adverse party                         related brand(s)

           address                                       HAWB/MBOL/PRO

           city, state zip

           email


This claim is made against your company in the amount of:                                                             $113,116.32

Detailed Statement of Claim
60% of retail $188,527.20




Total                                                                                                                 $113,116.32

Gallagher Bassett has partnered with Limited Brands, Inc./Limited Logistics Services/Mast Global Logistics for the administration
of claims. Please see the attached claim file and submit evidence of noninvolvement of loss or payment in full within 60 days. If
there are questions or concerns, please contact me directly.




Megan Barrick                    5/2/2023                CLAIMANT / PAYMENT INFORMATION:
Megan Barrick                    Date                    Bath and Body Works
Senior Resolution Manager                                c/o Gallagher Bassett/Limited Dedicated Claim Office - Attn: Val Carey
Gallagher Bassett Services, Inc.                         Three Limited Parkway
Ph:614-415-8476 Fax 1-866-608-6078                       Columbus Oh 43230
megan_barrick@gbtpa.com
